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                          UNITED STATES DISTRICT COURT
 9
                                  EASTERN DISTRICT OF CALIFORNIA
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11    STEWART MANAGO,                                     Case No. 1: 21-cv-01708-DAD-SAB

12                   Plaintiff,                           ORDER TRANSFERING CASE TO THE
                                                          CENTRAL DISTRICT OF CALIFORNIA
13           v.

14    CITY OF BARSTOW, et al.,

15                   Defendants.

16

17          Plaintiff Stewart Manago is a state prisoner proceeding pro se in this action. Plaintiff

18 filed this action on December 1, 2021, naming the City of Barstow, California, various police

19 officers in the Barstow Police Department, and deputy district attorneys in San Bernardino

20 County. (ECF No. 1.) The complaint specifies each Defendant resides in cities within the

21 Central District of California, the events alleged took place in San Bernardino County, and the

22 complaint was filed using the form with the letterhead of the United States District Court for the

23 Central District of California. (Id.) However, the complaint was filed with the Eastern District

24 of California, presumably due to the Plaintiff’s current incarceration within this district.

25          The federal venue statute requires that a civil action be brought in “(1) a judicial district

26 in which any defendant resides, if all defendants are residents of the State in which the district is

27 located; (2) a judicial district in which a substantial part of the events or omissions giving rise to

28 the claim occurred, or a substantial part of property that is the subject of the action is situated; or


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 1 (3) if there is no district in which an action may otherwise be brought as provided in this section,

 2 any judicial district in which any defendant is subject to the court’s personal jurisdiction with

 3 respect to such action.” 28 U.S.C. § 1391(b). The Court has reviewed Plaintiff’s complaint and

 4 finds that venue does not lie in this district as none of the venue requirements of Section 1391 are

 5 met. The Defendants are located in and the incidents alleged in the complaint took place in San

 6 Bernardino County which is located in the Central District of California. Venue in this action

 7 appropriately lies within the Central District of California, and it appears Plaintiff intended to file

 8 this action therein.

 9          Pursuant to 28 U.S.C. § 1406(a), when a case has been filed in the wrong district, the

10 “district shall dismiss, or if it be in the interest of justice, transfer such case to any district or

11 division in which it could have been brought.” Additionally Local Rule 120(f), provides that a

12 civil action which has not been commenced in the proper court may, on the court’s own motion,

13 be transferred to the proper court. Therefore, this action will be transferred to the Central

14 District of California.    This court will not rule on Plaintiff’s request to proceed in forma

15 pauperis.

16          Good cause appearing, IT IS HEREBY ORDERED that this action is transferred to the

17 United States District Court for the Central District of California.

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     IT IS SO ORDERED.
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20 Dated:      December 2, 2021
                                                          UNITED STATES MAGISTRATE JUDGE
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